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202-223-7343

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                                             October 14, 2014



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Letter to Counsel re: Withdrawal of Claims Relating to Finished Product Purchases           2


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          Sharp Elecs. Corp. et al. v. Hitachi, Ltd. et al., No. 13-cv-01173-SC;
  Sharp Elecs. Corp. et al. v. Koninklijke Philips Elecs. N.V. et al., No. 13-cv-2776-SC;
                           MDL No. 1917, No. 07-cv-5944-SC

              Withdrawal of Claims Relating to Finished Product Purchases

Dear Counsel:

              We hereby notify all defendants that Sharp Electronics Corporation and
Sharp Electronics Manufacturing Company of America, Inc. do not intend to pursue, and
hereby withdraw, any claims relating only to their purchases of CRT televisions
containing CRTs that had been purchased by Sharp Roxy Electronics Corporation and
Nanjing Sharp Electronics Co., Ltd., as referred to in paragraph 28 of their Second
Amended Complaint in Sharp Elecs. Corp. et al. v. Hitachi, Ltd. et al., No. 13-cv-01173-
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Letter to Counsel re: Withdrawal of Claims Relating to Finished Product Purchases         3


SC. Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of
America, Inc. accordingly hereby also withdraw all claims under state law (Claims 2-7).

                                         Very truly yours,

                                         /s/ Craig A. Benson

                                         Craig A. Benson
